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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION


 JESSICA MONIQUE HILLS,
                                                     CIVIL COMPLAINT
               Plaintiff,

 v.                                                  CASE NO. 2:17-cv-14207

 BLUESTEM BRANDS INC. d/b/a
 FINGERHUT,                                          DEMAND FOR JURY TRIAL

               Defendant.


                                          COMPLAINT

         NOW comes JESSICA MONIQUE HILLS (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of BLUESTEM BRANDS

INC. d/b/a FINGERHUT (“Defendant”), as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 et seq. and the Michigan Collection Practices Act (“MCPA”)

under M.C.L. § 445.251 et seq. for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




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    3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Eastern District of Michigan and a substantial portion the events or omissions giving rise to

the claims occurred within the Eastern District of Michigan.

                                               PARTIES

    4. Plaintiff is a 34 year-old natural person residing at 6403 Barlum Street, Detroit, Michigan,

which is located within the Eastern District of Michigan.

    5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

    6. Defendant is a catalog and online retailer offering household goods to customers on a

nationwide basis. Defendant’s principal place of business is located at 6509 Flying Cloud Drive,

Eden Prairie, Minnesota, and it regularly conducts business with consumers in Michigan.

    7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all time

relevant to the instant action.

                              FACTS SUPPORTING CAUSES OF ACTION

    9. Plaintiff obtained a line of credit through Defendant and eventually fell behind on her

monthly payments, thus incurring debt (“subject consumer debt”).

    10. In approximately February 2016, Plaintiff began receiving calls to her cellular phone, (313)

XXX-5031, from Defendant.

    11. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 5031. Plaintiff is and has always been financially

responsible for the cellular phone and its services.




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    12. The phone number that Defendant has most often used when calling Plaintiff’s cellular

phone is (844) 761-0812.

    13. Upon information and belief, the phone number ending in 0812 is regularly utilized by

Defendant to contact consumers in Illinois during its debt collection activities.

    14. When answering calls from Defendant, Plaintiff experiences a noticeable pause, lasting

approximately five seconds in length, before she is connected with a live representative.

    15. Upon speaking with one of Defendant’s representatives, Plaintiff was informed that it was

attempting to collect upon the subject consumer debt.

    16. Plaintiff notified Defendant’s representative that she was unable to make payment and

demanded that Defendant stop contacting her.

    17. Plaintiff has reiterated her demands on subsequent phone calls from Defendant, but despite

Plaintiff’s efforts, Defendant continued to regularly call her cellular phone through the spring of

2016.

    18. Plaintiff has also told Defendant on a number of occasions that she was unable to answer

her phone while at work, but yet, Defendant continued to contact Plaintiff during her work hours.

    19. Defendant has placed multiple calls to Plaintiff’s cellular phone during the same day, even

after being told to stop.

    20. For instance, on March 12, 2016, March 14, 2016, March 16, 2016, March 19, 2016, March

23, 2016, March 25, 2016, March 26, 2016, and March 29, 2016, Defendant placed at least 6

different phone calls to Plaintiff’s cellular phone on each respective date.

    21. Plaintiff has received not less than 113 calls from Defendant after asking it to stop calling

her.




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   22. Frustrated over the persistent calls, Plaintiff spoke with Sulaiman regarding her rights,

resulting in costs and expenses.

   23. With the goal of specifically addressing Defendant’s conduct, Plaintiff has spent

approximately $71.00 to purchase and maintain an application subscription on her cellular phone

to block the calls, resulting in pecuniary loss.

   24. Plaintiff has been unfairly harassed by Defendant's actions.

   25. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional

distress, increased risk of personal injury resulting from the distraction caused by the never-ending

calls, increased usage of her telephone services, loss of cellular phone capacity, diminished cellular

phone functionality, decreased battery life on her cellular phone, and diminished space for data

storage on her cellular phone.


          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   26. Plaintiff repeats and realleges paragraphs 1 through 25 as though fully set forth herein.

   27. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   28. Defendant used an ATDS in connection with its communications directed towards

Plaintiff. The noticeable pause, lasting approximately five seconds in length, that Plaintiff

experiences during answered calls before being connected to a representative of Defendant is




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instructive that an ATDS was being used. Similarly, the frequency and nature of Defendant’s calls

points to the involvement of an ATDS.

   29. Defendant violated the TCPA by placing at least 113 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent Plaintiff may have given to Defendant

was explicitly revoked by her multiple demands to cease contact.

   30. The calls placed by Defendant to Plaintiff were regarding solicitation and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   31. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C). Defendant was made aware of Plaintiff’s wishes a

handful of times, yet, in defiance of Plaintiff’s demands, Defendant continued to knowingly and

intentionally place mass calls to her cellular phone.

   WHEREFORE, Plaintiff, JESSICA MONIQUE HILLS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


          COUNT II – VIOLATIONS OF THE MICHIGAN COLLECTION PRACTICES ACT

   32. Plaintiff restates and realleges paragraphs 1 through 31 as though fully set forth herein.

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    33. Plaintiff is a “consumer” or “debtor” as defined by M.C.L. § 445.251(1)(d).

    34. Defendant is a “regulated person” as defined by M.C.L. § 445.251(1)(g) as it is a “person

whose collection activities are confined and are directly related to the operation of a business other

than that of a collection agency . . . .”

    35. The subject consumer debt is a “claim” or “debt” as defined by M.C.L. § 445.251(1)(a).

            a. Violations of M.C.L. § 445.252(f)(ii)

    36. The MCPA, pursuant to M.C.L. § 445.252(f)(ii), prohibits a regulated person from

“[m]isrepresenting in a communication with a debtor . . . [t]he legal rights of the creditor or

debtor.”

    37. Defendant violated M.C.L. § 445.252(f)(ii) by repeatedly contacting Plaintiff’s cellular

phone using an automated system absent consent. Through its conduct, Defendant misrepresented

that it had the legal ability to contact Plaintiff using an automated system after Plaintiff demanded

that Defendant stop calling. As such, Defendant misrepresented its legal rights, as well as

Plaintiff’s legal rights, by continuing to contact Plaintiff’s cellular phone absent the lawful ability

to do so.

            b. Violations of M.C.L. § 445.252(n)

    38. The MCPA, pursuant to M.C.L. § 445.252(n), prohibits a regulated person from “[u]sing

a harassing, oppressive, or abusive method to collect a debt, including causing a telephone to ring

or engaging a person in telephone conversations repeatedly, continuously, or at unusual times or

places which are known to be inconvenient to the debtor.”

    39. Defendant violated the MCPA when it continuously called Plaintiff after being notified to

stop and that its calls were inconvenient. In spite of Plaintiff’s demands, Defendant systematically

contacted Plaintiff at least 113 times. This repeated behavior was harassing and abusive, and the



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frequency and volume of calls shows that Defendant willfully ignored Plaintiff’s pleas with the

goal of annoying and harassing her.

   40. Defendant was notified by Plaintiff that its calls were inconvenient as she was at work. As

such, Defendant contacted Plaintiff at times and places which were known to be inconvenient to

her.

           c. Violations of M.C.L. § 445.252(q)

   41. The MCPA, pursuant to M.C.L. § 445.252(q), subjects collection agencies to liability for

“[f]ailing to implement a procedure designed to prevent a violation by an employee.”

   42. Defendant violated the MCPA by failing to adequately have procedures in place designed

to prevent a violation by its employee. Plaintiff informed Defendant that she was unable to answer

its phone calls while she was at work, but in defiance of this information, Defendant continued

placing calls to Plaintiff’s cellular phone during her work hours. Moreover, Defendant continued

to contact Plaintiff even after she demanded that it stop contacting her. This demonstrates the lack

of any procedures in place by Defendant wherein its employees would cease calling after becoming

aware that its calls were unwelcome and inconvenient. As such, Defendant has failed to implement

a procedure designed to prevent its employees from engaging in harassing, oppressive, or abusive

methods in connection with its collection of debts.

   43. Defendant’s violations of the MCPA were willful. Defendant was notified by Plaintiff that

she did not wish to receive any more phone calls. Yet, Plaintiff was still bombarded with collection

phone calls from Defendant. In a willful manner, Defendant called Plaintiff repeatedly and

continuously notwithstanding her demands. Upon information and belief, Defendant regularly

engages in the above described behavior against consumers in Michigan, further demonstrating

the willful failure to implement adequate procedures designed to prevent violations of the MCPA.



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   WHEREFORE, Plaintiff, JESSICA MONIQUE HILLS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief, pursuant to M.C.L. § 445.257(1).

   c. Awarding Plaintiff actual damages, or three times actual damages, pursuant to M.C.L. §
      445.257(2).

   d. Awarding statutory damages of at least $50.00 and treble damages, pursuant to M.C.L. §
      445.257(2).

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to M.C.L. § 445.257(2).

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: December 28, 2017                             Respectfully submitted,

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